Case 9:18-ap-01058-DS   Doc 267 Filed 08/20/20 Entered 08/20/20 10:56:46   Desc
                         Main Document     Page 1 of 8
Case 9:18-ap-01058-DS   Doc 267 Filed 08/20/20 Entered 08/20/20 10:56:46   Desc
                         Main Document     Page 2 of 8
Case 9:18-ap-01058-DS   Doc 267 Filed 08/20/20 Entered 08/20/20 10:56:46   Desc
                         Main Document     Page 3 of 8
Case 9:18-ap-01058-DS   Doc 267 Filed 08/20/20 Entered 08/20/20 10:56:46   Desc
                         Main Document     Page 4 of 8
Case 9:18-ap-01058-DS   Doc 267 Filed 08/20/20 Entered 08/20/20 10:56:46   Desc
                         Main Document     Page 5 of 8
Case 9:18-ap-01058-DS   Doc 267 Filed 08/20/20 Entered 08/20/20 10:56:46   Desc
                         Main Document     Page 6 of 8
Case 9:18-ap-01058-DS   Doc 267 Filed 08/20/20 Entered 08/20/20 10:56:46   Desc
                         Main Document     Page 7 of 8
Case 9:18-ap-01058-DS     Doc 267 Filed 08/20/20 Entered 08/20/20 10:56:46     Desc
                           Main Document     Page 8 of 8

  1                                      SERVICE LIST
  2
                United States Bankruptcy Court Central District of California
  3                                  Northern Division
                                 Case No. 9:18-AP-01058-DS
  4                                Our File No. 03349.801
  5
                 Served By
  6
            -     Keith Patrick Banner         kbanner@greenbergglusker.com;
  7               sharper@greenbergglusker.com; calendar@greenbergglusker.com
            -     Peter J. Benvenutti          pbenvenutti@kellerbenvenutti.com;
  8
                  pjbenven74@yahoo.com
  9         -     Jonathan Boustani            jboustani@btlaw.com
            -     Cheryl S. Chang              Chang@BlankRome.com;
 10               Hno@BlankRome.com
            -     Brian L. Davidoff            bdavidoff@greenbergglusker.com;
 11
                  calendar@greenbergglusker.com; jking@greenbergglusker.com
 12         -     Edward J. Dennis             eburch@lynnllp.com
            -     Tobias S. Keller             tkeller@kellerbenvenutti.com
 13         -     Ian Landsberg                ilandsberg@sklarkirsh.com;
                  lskaist@sklarkirsh.com; yalarcon@sklarkirsh.com;
 14
                  ilandsberg@ecf.inforuptcy.com
 15         -     Andrew B. Levin              alevin@wcghlaw.com;
                  Meir@virtualparalegalservices.com; pj@wcghlaw.com;
 16               jmartinez@wcghlaw.com
            -     Christopher O. Rivas         crivas@reedsmith.com; chris-rivas-
 17
                  8658@ecf.pacerpro.com
 18         -     Howard Steinberg             steinbergh@gtlaw.com; pearsallt@gtlaw.com;
                  laik@gtlaw.com
 19         -     David A. Taylor       david@tayloerstrategic.com
            -     United States Trustee (ND)          ustpregion16.nd.ecf@usdoj.gov
 20
            -     Douglas R. Gooding           dgooding@choate.com
 21         -     Jonathan D. Marshall         jmarshall@choate.com
            -     Michelle Yoshida             MYoshida@phillipsadr.com
 22

 23

 24

 25

 26

 27

 28



                                                 2
                                         JOINT STATUS REPORT
